Case 2:99-Cr-20261-BBD Document 155 Filed 08/09/05 Page 1 of 2 Page|D 115

 

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PROB. 12
(Rev. 3188) _ .
UNITED sTATEs DISTRICT coURT 05 ms 9 PH 3' 55
ll‘lOM¢S M. GOU.D
for CLEH%US §’€Siitcrcapr
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wESTERN nIsTRICT oF TENNESSEE
U.s.A. vs. CRAIG ALLEN wALKER pocket No. 2:99€1120261~01

 

 

Petition on Probation and Supervised Release

COMES NOW NICOLE D. PETERSON , PROBATION OFFICER OF THE COURT presenting
an oflicial report upon the conduct and attitude of Craig Allen Walker who was placed on supervision by the
Honorable Bernice B. Donald sitting in the Court at Memphis, TN, on the 23rd day of M, 2004, who fixed the
period of supervision at four 141 years and ten 1101 months*, and imposed the general terms and conditions
theretofore adopted by the Court and also imposed special conditions and terms as follows:

 

(l) The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the Probation Officer
for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection of
substance use or abuse.

(2) The defendant shall participate as directed in a program of mental health treatment approved by the Probation Oiiicer.
Further, the defendant shall be required to contribute to the costs of services for such treatment

(3) The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or making an
obligation for any major purchases without approval of the Probation Officer.

(4) The defendant shall provide the Probation Of’ficer access to any requested financial information

(5) The defendant is prohibited from any contact with Mrs. Christy Perkins or her family.

(6) The defendant is prohibited from any contact with his children without an order from any Court.

(7) The defendant shall pay restitution in the amount of $25,651.03.

* Supervised Release commenced on July 23, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

After reviewing Craig Walker’ s monthly income and expenses, it appears that ten percent (10%) ofhis monthly gross
income is an appropriate payment plan.

PRAYING THAT TI-IE COURT WILL ORDER that Craig Walker’s restitution payments be set at ten percent
(10 %) of his monthly gross income.

 

ORDER OF COURT RESPECTFULLY,
Co aeer and ordered this j *“‘ day WiM
of 2 §§ ski , 20£&, and ordered filed NICOLE D. PETERSON
and a part of the records in the above United States Probation 0flicer

      
 
 

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Place: Mmhis` Tenn§see /
ed States District Judge Julv 29. 2005 / l

 

Thls document entered on the docket sheet in comiR§li%!
with Ftule 55 andlor 32(b) FRCrP on _

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 155 in
case 2:99-CR-2026l was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

FPD

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Honorable Bernice Donald
US DISTRICT COURT

